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1    JOHN R. DUREE, JR. INC
     A Professional Corporation
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     State Bar No. 65684
3    1001 G Street, Suite 100
     Sacramento, California 95814
4    Telephone: (916) 441-0562
5
     Facsimile: (916) 447-2988

6    Attorney for Defendant
     VALERI MYSIN
7

8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          )                 2:11-CR-00427 TLN
                                        )
12                           Plaintiff, )                 STIPULATION AND ORDER
                                        )                 TO CONTINUE JUDGMENT
13   v.                                 )                 AND SENTENCING
14
                                        )
                                        )
15   VALERI MYSIN,                      )
                                        )
16                           Defendant. )
     __________________________________ )
17

18                                           STIPULATION
19
            Plaintiff, United States of America, by and through its counsel, Assistant United States
20
     Attorney Jared C. Dolan and defendant, Valeri Mysin, by and through his counsel, John R.
21
     Duree, Jr., agree and stipulate to vacate the date set for judgment and sentencing, October 19,
22
     2017 at 9:30 a.m., in the above-captioned matter, and to continue the judgment and sentencing to
23
     November 30, 2017 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley. Probation
24

25
     officer Shannon Moorehouse also agrees to this change.

26          In addition, the parties stipulate to the following modification to the schedule of

27   disclosure relating to the pre-sentence report (“PSR”):

28

                                                          1
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1
            Written objections to the PSR         November 2, 2017
2
            Final draft of the PSR                November 9, 2017
3
            Motion for correction of PSR          November 16, 2017
4
            Government’s reply                    November 22, 2017
5
            The reason for the continuance is that the parties anticipate further cooperation by
6

7
     defendant Valeri Mysin in on-going cases.

8           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

9    IT IS SO STIPULATED.

10   Dated: September 19, 2017                            PHILLIP A. TALBERT
                                                          United States Attorney
11
                                                  By:      /s/ Jared C. Dolan
12                                                        JARED C. DOLAN
                                                          Assistant United States Attorney
13

14
     Dated: September 19, 2017                             /s/ John R. Duree, Jr.
                                                          JOHN R. DUREE, JR.
15                                                        Attorney for Defendant
                                                          VALERI MYSIN
16
                                                 ORDER
17
            For the reasons set forth in the accompanying stipulation, the judgment and sentencing
18
     date of October 19, 2017 at 9:30 a.m. is VACATED and the above-captioned matter is set for
19
     judgment and sentencing on November 30, 2017 at 9:30 a.m.
20
            It is FURTHER ORDERED that the schedule of disclosure be modified as follows:
21
            Written objections to the PSR         November 2, 2017
22
            Final draft of the PSR                November 9, 2017
23
            Motion for correction of PSR          November 16, 2017
24

25
            Government’s reply                    November 22, 2017

26   IT IS SO ORDERED.

27   Dated: September 19, 2017
28                                                               Troy L. Nunley
                                                                 United States District Judge
                                                         2
